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Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 3 of 14 Page ID #:157
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 4 of 14 Page ID #:158
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 5 of 14 Page ID #:159
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 6 of 14 Page ID #:160
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 7 of 14 Page ID #:161
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 8 of 14 Page ID #:162
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 9 of 14 Page ID #:163
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                           EXHIBIT A
Case 2:22-cv-03600-DSF-MAA Document 11 Filed 07/12/22 Page 12 of 14 Page ID #:166
                           SCHEDULE OF PRETRIAL AND TRIAL DATES
     CASE NAME:           State Farm General Insurance Company v. CVS Health Solutions
     CASE NO: 2:22-CV-03600
                                                                      Weeks Plaintiff(s) Defendant(s) Court
      Matter                                                   Time   before Request       Request    Order
                                                                       trial
                                                               8:30          10/10/23 10/10/2023
     Trial (jury)(length 4 days) (Tuesday)                      am
                                                               3:00     4      9/11/23    9/11/23
      Pretrial Conference, LR 16;                               pm
      Hearing on Motions in Limine (Monday)


                                                                               8/29/23    8/29/23
     Trial Documents (Set Two)                                          6
      All Trials: Lodge Pretrial Conference Order, LR
     16-7; File Oppositions to Motions in Limine
      Jury Trial Only: File Agreed Set of Jury Instructions
     and Verdict Forms; Statement Regarding Disputed
     Instructions and Verdict forms


     Trial Documents (Set One)
      All Trials: File Memo of Contentions of Fact and                  7      8/22/23    8/22/23
     Law, LR 16-4; Exhibit & Witness Lists, LR 16-5, 6;
     Status Report Regarding Settlement; Motions in
     Limine (no more than five motions per side may be
     filed without Court permission)
      Court Trial Only: Lodge Findings of Fact and
     Conclusions of Law; LR 52; File Summaries of Direct
     Testimony (optional)

      Last day to conduct ADR Proceeding, LR 16-15                     12      7/18/23    7/18/23

      Last day to hear motions (except motion to amend                 14      7/03/23    7/03/23
      pleadings or add parties and motions in limine), LR 7
      (Monday)

      Non-expert Discovery Cut-off                                     21+     5/16/23    5/16/23

      Expert Disclosure (initial)                                              3/21/23     3/21/23

                                                                                4/11/23    4/11/23
      Expert Disclosure (rebuttal)

      Expert Discovery Cut-off                                         21+     5/16/23    5/16/23
      Last day to hear motion to amend pleadings or add                32+
      parties (Monday)                                                         2/27/23    2/27/23




                LR 16-15 ADR Choice:           1. USMJ                             X 3. Outside ADR

                                                2. Attorney Settlement Panel




    revised 6−5−20                                        10
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   1                                          PROOF OF SERVICE

   2
            I am employed in the County of Los Angeles, State of California. I am over the age of 18
   3 and not a party to the within action. My business address is 6100 Center Drive, Suite 1100, Los
     Angeles, California 90045.
   4        On July 12, 2022, I served the within document(s) described as:
   5          AMENDED JOINT FULE 26(f) SCHEDULING CONFERENCE REPORT
   6                            [F.R.C.P. RULE 26(f)]

   7    DECLARATION OF DEFENDANT’S COUNSEL, ANDREI SERPIK, IN RESPONSE
                    TO ORDER TO SHOW CAUSE RE SANCTIONS
   8
       DECLARATION OF ANDREW DE LA FLOR IN RESPONSE TO ORDER TO SHOW
   9
                           CAUSE RE: SANCTIONS
  10
              on the interested parties in this action as stated on the attached mailing list.
  11
        X     (BY ELECTRONIC MAIL/ECF) I caused such document to be electronically transmitted
  12          via United States District Court, Central District of California, which is then printed and
              maintained with the original documents in our office.
  13
              Executed on July 12, 2022, at Los Angeles, California.
  14
            I declare under penalty of perjury under the laws of the State of California that the
  15 foregoing is true and correct.

  16
                      Erin M. Woodard
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                                           State Farm v. CVS
   1
                                         Case No. 2:22-CV-03600
   2
     CLIENT: CVS HEALTH SOLUTIONS, LLC
   3 FILE NO.: 4525.001

   4
                                            SERVICE LIST
   5
       Andrew De La Flor, Esq.
   6   WATKINS & LETOFSKY, LLP
       2900 S. Harbor Blvd., Suite 240
   7   Santa Ana, CA 92704
   8   Tel: (949) 476-9400
       Fax: (949) 476-9407
   9   Email: adelaflor@wl-llp.com
  10

  11   Attorneys for Plaintiff,
       STATE FARM GENERAL INSURANCE
  12   COMPANY
  13

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